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                             EXHIBIT C:
  James B. Comey, Dir., Fed. Bureau of Investigation, Statement Before
 the House Permanent Select Committee on Intelligence (Mar. 20, 2017)


       Defendant Concord Management and Consulting LLC’s
   Motion to Dismiss the Indictment Based on the Special Counsel’s
   Unlawful Appointment and Lack of Authority to Indict Concord,
            United States v. Internet Research Agency LLC,
                Criminal Action No. 18-00032 (DLF)
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            James B. Comey
            Director
            Federal Bureau of Investigation

            Statement Before the House Permanent Select Committee on Intelligence
            (HPSCI)
            Washington, D.C.
            March 20, 2017


            HPSCI Hearing Titled Russian Active
            Measures Investigation
            Mr. Chairman, Ranking Member Schiff, members of the committee, thank you for
            including me in today’s hearing. I'm honored to be here representing the people
            of the FBI.

            I hope we have shown you through our actions and our words how much we at
            the FBI value your oversight of our work and how much we respect your
            responsibility to investigate those things that are important to the American
            people. Thank you for showing that both are being taken very seriously.

            As you know, our practice is not to confirm the existence of ongoing
            investigations, especially those investigations that involve classified matters, but
            in unusual circumstances where it is in the public interest, it may be appropriate
            to do so as Justice Department policies recognize. This is one of those
            circumstances.

            I have been authorized by the Department of Justice to confirm that the FBI, as
            part of our counterintelligence mission, is investigating the Russian government’s
            efforts to interfere in the 2016 presidential election, and that includes
            investigating the nature of any links between individuals associated with the
            Trump campaign and the Russian government and whether there was any




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            coordination between the campaign and Russia’s efforts. As with any
            counterintelligence investigation, this will also include an assessment of whether
            any crimes were committed.

            Because it is an open, ongoing investigation and is classified, I cannot say more
            about what we are doing and whose conduct we are examining. At the request of
            congressional leaders, we have taken the extraordinary step in coordination with
            the Department of Justice of briefing this Congress' leaders, including the
            leaders of this committee, in a classified setting in detail about the investigation,
            but I can't go into those details here.

            I know that is extremely frustrating to some folks. But it is the way it has to be for
            reasons that I hope you and the American people can understand. The FBI is
            very careful in how we handle information about our cases and about the people
            we are investigating. We are also very careful about the way we handle
            information that may be of interest to our foreign adversaries. Both of those
            interests are at issue in a counterintelligence investigation. Please don't draw
            any conclusions from the fact that I may not be able to comment on certain
            topics. I know speculating is part of human nature, but it really isn't fair to draw
            conclusions simply because I say that I can't comment.

            Some folks may want to make comparisons to past instances where the
            Department of Justice and the FBI have spoken about the details of some
            investigations, but please keep in mind that those involved the details of
            completed investigations. Our ability to share details with the Congress and the
            American people is limited when those investigations are still open, which I hope
            makes sense. We need to protect people’s privacy. We need to make sure we
            don't give other people clues as to where we're going. We need to make sure
            that we don't give information to our foreign adversaries about what we know or
            don't know. We just cannot do our work well or fairly if we start talking about it
            while we're doing it. So we will try very, very hard to avoid that, as we always do.

            This work is very complex and there is no way for me to give you a timetable as
            to when it will be done. We approach this work in an open-minded, independent
            way and our expert investigators will conclude that work as quickly as they can,
            but they will always do it well no matter how long that takes. I can promise you,



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            we will follow the facts wherever they lead. And I want to underscore something
            my friend Mike Rogers said—leaks of classified information are serious, serious
            federal crimes for a reason. They should be investigated and, where possible,
            prosecuted in a way that reflects that seriousness so that people understand it
            simply cannot be tolerated.

            And I look forward to taking your questions.




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